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           EXHIBIT 2
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                                                                    Page 1

1
2       UNITED STATES DISTRICT COURT
3       NORTHERN DISTRICT OF CALIFORNIA
4        - - - - - - - - - - - - - - - - - - - -x
5       SOCIAL TECHNOLOGIES, LLC,
6                                       Plaintiff,
                                                    Case No.
7                   -against-                     3:2018-cv-05945
8       APPLE, INC.,
9                                       Defendant.
         - - - - - - - - - - - - - - - - - - - -x
10
                                        601 Lexington Avenue
11                                      New York, New York
12                                      September 11, 2019
                                        9:23 a.m.
13
14
15           VIDEO DEPOSITION of TYLER DROLL, in
16      the above-entitled action, held at the
17      above time and place, taken before Jeremy
18      Richman, a Shorthand Reporter and Notary
19      Public of the State of New York, pursuant
20      to the Federal Rules of Civil Procedure,
21      and stipulations between Counsel.
22
23                         *        *         *
24
25

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1        developer associated with Social Tech.
2                   Q.     And what did he call you
3        about?
4                   A.     Gave me a very high-level
5        overview of this case and said they
6        were looking for an expert, and asked
7        if I would be willing to talk to Social
8        Tech's counsel.
9                   Q.     How do you know -- did you
10       know Mr. Grant prior to that phone
11       call?
12                  A.     No.
13                  Q.     Had you ever heard of
14       Mr. Grant prior to that phone call?
15                  A.     No.
16                  Q.     After that phone call, did
17       you, in fact, speak to counsel for
18       Social Tech?
19                  A.     Yes.
20                  Q.     Did you sign an engagement
21       letter?
22                  A.     Yes.
23                  Q.     Do you have a copy of that?
24                  A.     Yes.
25                  Q.     Does that engagement letter

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1        reflect the date on which you were
2        retained?
3                   A.     Yes.
4                   Q.     What's your best recollection
5        as to the date that you were retained?
6                   A.     It's, I would say June or
7        July, this summer.
8                   Q.     Would having the engagement
9        letter help refresh you as to the date
10       you were engaged?
11                  A.     Yes, of course.
12                  Q.     Okay.
13                         MS. CENDALI:           I call for its
14              production.
15                         MR. HECHT:         And we're going
16              to object to its production.
17                  Q.     Are there -- what
18       communications did you have with
19       counsel or anyone else with regard to
20       your work as an expert witness in this
21       case prior to signing the engagement
22       letter?
23                  A.     I'm sorry, can you restate
24       the question?
25                  Q.     Sure.      Prior to signing the

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